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                                EXHIBIT I
                                 Footnote 16
    “Nosocomial outbreak caused by the SARS-CoV-2 Delta variant in a highly
                    vaccinated population, Israel, July 2021”
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Rapid communication

 Nosocomial outbreak caused by the SARS-CoV-2 Delta
 variant in a highly vaccinated population, Israel, July
 2021
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A nosocomial outbreak of SARS-CoV-2 Delta vari-                                   Setting
ant infected 42 patients, staff and family members;                               Meir Medical Center has 780 beds, most rooms accom-
39 were fully vaccinated. The attack rate was 10.6%                               modate three to four patients, 1 m apart with separa-
(16/151) among exposed staff and reached 23.7%                                    tion curtain partitions between beds. Starting in March
(23/97) among exposed patients in a highly vaccinated                             2020, patients have been encouraged to wear surgical
population, 16–26 weeks after vaccination (median:                                masks. Although use was inconsistent, it was enforced
25 weeks). All cases were linked and traced to one                                during patient–staff encounters for both sides. On the
patient. Several transmissions occurred between indi-                             dedicated COVID-19 ward, dedicated staff members
viduals wearing face masks. Fourteen of 23 patients                               worked with full personal protective equipment (PPE):
became severely sick or died, raising a question about                            N-95 mask, face shield, gown, gloves and hair cover.
possible waning immunity.
                                                                                  Outbreak investigation
Israel was one of the first countries to achieve a high                           Contact investigations were carried out by trained
level of full vaccination with the Comirnaty (BNT162b2                            infection control personnel and were initiated after
mRNA, BioNTech-Pfizer, Mainz, Germany/New York,                                   suspected nosocomial acquisition or COVID-19 diag-
United States (US)) vaccine against severe acute respir-                          nosis of a staff member confirmed by positive PCR for
atory syndrome coronavirus 2 (SARS-CoV-2). From May                               SARS-CoV-2. All exposed individuals were PCR-tested
through mid-June 2021, with more than 55% of the pop-                             for SARS-CoV-2. All those testing positive were consid-
ulation fully vaccinated, new cases decreased to less                             ered as a COVID-19 case. All data were collected in real
than two cases per million, with no social restrictions,                          time and included all patients and personnel exposed
indicative of very high vaccine effectiveness [1,2].                              to a case, last negative SARS-CoV-2 test, presence of
Since mid-June, a sharp increase in cases has been                                symptoms, date of symptom onset, any sick family
observed, attributed to the SARS-CoV-2 Delta variant                              member, and vaccination status and date. All exposed
(Phylogenetic Assignment of Named Global Outbreak                                 individuals were PCR-tested for SARS-CoV-2. Whenever
(Pango) lineage designation B.1.617.2 and AY.* sublin-                            more than one patient was identified as COVID-19
eages), which by mid-July constituted more than 95%                               case, all staff and patients on the ward were screened
of sequenced virus isolates in Israel [3]. This variant                           regardless of a known encounter with the positive
was assessed to have higher transmissibility than the                             case. All exposed patients found negative in the first
Alpha variant (B.1.1.7 and Q.* sublineages) [4].                                  screening, were cohorted and rescreened 7 days post
                                                                                  exposure. All identified cases were either transferred
We present an investigation of a coronavirus disease                              to a dedicated COVID-19 unit or discharged as per clini-
(COVID-19) outbreak that started from one unidentified                            cal status.
COVID-19 patient, with extensive, rapid nosocomial
spread among vaccinated, including individuals wear-                              The index case was a fully vaccinated haemodialysis
ing surgical masks.                                                               patient in their 70s. They were admitted to Ward A in


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Figure
                                                                          identified a total of 19 COVID-19 cases by SARS-CoV-2
Whole genome-based phylogenetic tree of SARS-CoV-2                        PCR: 10 staff, including the aforementioned HCW, eight
Delta isolates, nosocomial outbreak, Israel, July 2021
(n =12)                                                                   patients, including the three above, and one family
                                                                          member.

    Department                                                            The calculated attack rate among all exposed patients
        Ward A                                                            and staff was 10.6% (16/151) for staff and 23.7%
                                                        Case 6
        Ward A / Ward C
                                                        Case 7
                                                                          (23/97) for patients, in a population with 96.2% vacci-
        Ward B                                                Case 8      nation rate (238 vaccinated/248 exposed individuals).
        Dialysis                                      Case 9
        Ward C
                                                                          Sequencing and analysis
                                                      Case 10
                                                      Case 4
                                                        Case 5            Sequence and patient data were obtained via the
                                                Case 3
                                            Index case
                                                                          Israel National Consortium of SARS-CoV-2 sequenc-
                                                Case 2                    ing. FASTQ files underwent processing, mapping to the
                                              Case 1                      reference genome (NC_045512.2) and construction of
                                                Case 11
                                                                          consensus FASTA sequences as previously described
                 Day 8




                                               Day 29
                                   Day 22




                                                                 Day 36
Day 1




                          Day 15




                                                                          [6]. All sequence data were deposited and are avail-
                                                                          able in GISAID [7]. Phylogenetic trees were constructed
                                                                          using NextStrain’s Augur pipeline and visualised with
The tree was constructed using Nextstrain’s Augur pipeline and            auspice [8].
  visualised with Auspice [8]. The numbers represent the Patient
  numbering used in the manuscript text and Table.
                                                                          We conducted phylogenetic analysis on the whole-
                                                                          genome SARS-CoV-2 sequences that were available
                                                                          for 12 cases in this outbreak, including staff and
mid-July with fever and cough and placed in a room                        patients from Wards A, B and C and dialysis depart-
with three other patients. On admission day, the index                    ments (Figure). All were infected with the Delta variant
case was not tested for SARS-CoV-2, because their                         and epidemiologically and phylogenetically connected
symptoms were mistaken for possible bloodstream                           to the same outbreak except for Case 11 from Ward C.
infection exacerbating congestive heart failure. During                   Case 11 and three staff members identified on Ward C
their stay, the index case and one roommate were dia-                     were not considered as part of this outbreak. The three
lysed every other day in the dialysis unit. Four days                     staff members from Ward C were exposed to both Case
after admission, the index case was diagnosed with                        1 and Case 11 and therefore the source of their infection
COVID-19 by PCR for SARS-CoV-2 E gene with a quan-                        could not be verified.
titative cycle (Cq) value of 13.59; the case was there-
fore transferred to a COVID-19-dedicated unit of Ward                     Demographic and clinical information
B. On the same day, all three of this case’s roommates                    Of the 42 cases diagnosed in this outbreak, 38 were
on Ward A were screened for SARS-CoV-2 and tested                         fully vaccinated with two doses of the Comirnaty vac-
positive and were transferred to the dedicated ward or                    cine, one was recovered with one vaccination and
discharged.                                                               three were unvaccinated. The median age was 55 years
                                                                          (interquartile range (IQR): 36–77.5) and 24 were female.
The contact investigation included Ward A, the dialysis                   Twenty-three were patients, 16 staff members and three
unit (contacts of the index case) and Ward C following a                  family members. The median time from second vaccine
1-day stay of Case 1. This investigation revealed a total                 dose to breakthrough infection was 177 days (range
of 27 COVID-19 cases by SARS-CoV-2 PCR: 16 patients,                      111–194). On the day of diagnosis, only 24 individuals
including the index case, nine staff and two family                       were symptomatic, but in the following days, 36 had
members.                                                                  become symptomatic. All staff (median age: 33 years;
                                                                          range: 22–48) remained asymptomatic or with mild
The COVID-19 diagnosed cases were transferred on the                      disease. Among the patients (median age: 77 years;
day of their diagnosis to a COVID-19 unit on Ward B,                      range: 42–93; median time from second vaccine dose
which operated as a mixed ward because of the small                       to infection: 176 days; range: 143-188), eight became
number of COVID-19 patients in our hospital at the time.                  severely ill, six critically ill and five of the critically ill
Half the ward was dedicated to COVID-19 patients,                         died (Table). The patient population was considerably
with dedicated staff in full PPE, while half remained a                   older than staff and all patients had comorbidities: dia-
regular ward. The index case was treated on transfer                      betes mellitus (n = 9), hypertension (n = 16), ischemic
day by a healthcare worker (HCW) who had recovered                        heart disease (n = 12), congestive heart failure (n = 7),
from COVID-19 a year earlier, and was vaccinated once,                    dementia (n = 5), body mass index > 30 (n = 8), chronic
as per Israeli guidelines [5]. Three days after transfer                  renal failure (n = 11) of whom six were on dialysis. Eight
day, this HCW attended a room in the regular ward                         patients were immunocompromised.
with three patients of whom two developed symptoms
compatible with COVID-19 2 days later and tested posi-                    The median Cq values on diagnosis days were 19.9 (IQR:
tive for SARS-CoV-2. Contact investigation on Ward B                      17.8–25.1) and were lower for symptomatic individuals


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Table
Case data, nosocomial COVID-19 outbreak, Israel, July 2021 (n = 23)

Case          Age group (years)          Gap (days) vaccine to diagnosis     Cq         COVID-19 maximal disease severity   Died
Index               70-79                             169                    13.6                    Critical               Yes
1                   80-89                             172                     15                     Critical               Yes
2                   50-59                             175                     18                     Severe                 No
3                   60-69                             176                    17.6                    Severe                 No
4                   80-89                             181                    20.5                    Severe                 No
6                   40-49                             143                     15                    Moderate                No
7                   70-79                             182                     16                     Critical               Yes
9                   50-59                        Not vaccinated               24                      Mild                  No
10                  80-89                             171                     28                     Severe                 No
Na                  60-69                             168                    18.5                    Severe                 No
Na                  70-79                             182                     36                      Mild                  No
Na                  80-89                             177                    31.8                    Severe                 No
Na                  70-79                             187                     22                     Critical               No
Na                  70-79                             184                     14                     Severe                 No
Na                  80-89                             186                     21                 Asymptomatic               No
Na                  90-99                             173                     18                     Critical               Yes
Na                  70-79                             174                     38                     Severe                 No
Na                  70-79                             176                    NA                       Mild                  No
Na                  90-99                             176                    NA                      Critical               Yes
Na                  80-89                             188                    NA                       Mild                  No
Na                  60-69                             183                     27                 Asymptomatic               No
Na                  80-89                        Not vaccinated              NA                       Mild                  No
Na                  50-59                             152                    21.3                Asymptomatic               No

Na: not applicable; NA: not available.




(median: 18.2; IQR: 15.7–21.7) than for asymptomatic                       against the Delta variant was high, although lower than
individuals (median: 22; IQR: 18–28), but the differ-                      against the Alpha variant (88% vs 93.7%) [9]. This was
ence was not statistically significant.                                    not the experience in Israel, with a rapid increase in
                                                                           cases since June 2021 despite a high vaccination rate
Ethical statement                                                          [1].
The clinical data of this work was from an outbreak
investigation; thus ethical approval was waived by the                     Although reports of breakthrough infections are
Meir Medical Center Ethical committee. The bioinfor-                       increasing [10-12], this communication emphasises
matics work was conducted according to the guidelines                      several points. It challenges the assumption that high
of the Declaration of Helsinki and approved by the                         universal vaccination rates will lead to herd immunity
Institutional Review Board of the Sheba Medical Center                     and prevent COVID-19 outbreaks. This was probably
institutional review board (7045–20-SMC). Patient                          true for the wild-type SARS-CoV-2 virus, but in the out-
consent was waived because the study used remains                          break described here, 96.2% of the exposed popula-
of clinical samples and the analysis used anonymous                        tion was vaccinated. Infection advanced rapidly (many
clinical data.                                                             cases became symptomatic within 2 days of exposure),
                                                                           and viral load was high. Another accepted view is that,
Discussion                                                                 when facing a possible mismatch between the SARS-
We have investigated a nosocomial COVID-19 outbreak                        CoV-2 variant and vaccine or waning immunity, the
involving the SARS-CoV-2 Delta variant among a highly                      combination of vaccine and face mask should provide
vaccinated population. The attack rate among exposed                       the necessary protection. Although some transmission
individuals reached 23.3% in patients and 10.3% in                         between staff members could have occurred without
staff, with 96.2% vaccination rate among exposed                           masks, all transmissions between patients and staff
individuals. Moreover, several transmissions probably                      occurred between masked and vaccinated individuals,
occurred between two individuals both wearing surgi-                       as experienced in an outbreak from Finland [12]. We
cal masks, and in one instance using full PPE, including                   cannot rule out that protection measures were not opti-
N-95 mask, face shield, gown and gloves.                                   mally implemented, however, transmissibility in sum-
                                                                           mer 2021 differs from our experiences in the previous
In a recent publication by Bernal et al., the effective-                   18 months. Whether this can be attributed to the low
ness of full vaccination with the Comirnaty vaccine                        Cq and high transmissibility of the Delta variant is not


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Conflict of interest
None declared.
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Authors’ contributions                                               the Creative Commons Attribution (CC BY 4.0) Licence. You
Pnina Shitrit was responsible for data acquisition and inter-        may share and adapt the material, but must give appropriate
pretation, revising the manuscript and final approval of the         credit to the source, provide a link to the licence and indicate
version to be published. Neta S. Zuckerman was responsible           if changes were made.
for sequencing and bioinformatics, revising the manuscript
and final approval of the version to be published. Orna Mor          Any supplementary material referenced in the article can be
was responsible for sample collection, revising the manu-            found in the online version.
script and final approval of the version to be published. Bat-
Sheva Gottesman was responsible for interpretation of data,          This article is copyright of the authors or their affiliated in-
revising the manuscript and final approval of the version to         stitutions, 2021.
be published. Michal Chowers was responsible for analysis
of the data, drafting the work and final approval of the ver-
sion to be published.


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